The state instituted this petition for a judgment of support against the defendant as the putative father of a minor child who had received state assistance under the aid to families with dependent children program. Following the entry of judgment in favor of the plaintiff in this action, the defendant instituted a separate action under General Statutes 52-270, seeking a new trial on the issue of paternity. In the latter action, judgment was rendered in favor of the defendant granting him a new trial. The state appealed from that judgment in Sullivan v. State, 38 Conn. Sup. 534, 453 A.2d 91 (1982).
  The parties to the present action have stipulated that a finding of no error in the companion matter renders moot the present appeal. Such a finding having been rendered in that matter, this appeal is herewith ordered dismissed.
DALY, BIELUCH and COVELLO, Js., participated in this decision.